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            EXHIBIT B
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Richard Kadrey works                       Laura Lippman works
Aloha from Hell                            After I’m Gone
The Everything Box                         In a Strange City
Kill the Dead                              Lady in the Lake
The Perdition Score                        Sunburn
Sandman Slim                               What the Dead Know
The Wrong Dead Guy                         Wilde Lake

Sarah Silverman works                      Rachel Louise Snyder works
The Bedwetter                              No Visible Bruises

Christopher Golden works                   Jacqueline Woodson works
Ararat                                     After Tupac & D Foster
Dead Ringers                               Another Brooklyn
The Pandora Room                           Behind You
Snowblind                                  Beneath a Meth Moon
                                           Brown Girl Dreaming
Ta-Nehisi Coates works
                                           Feathers
The Beautiful Struggle
                                           Harbor Me
The Water Dancer
                                           If You Come Softly
We Were Eight Years in Power
                                           Miracle’s Boys
Junot Díaz works                           Red at the Bone
The Brief Wondrous Life of Oscar Wao
                                           Lysa TerKeurst works
Drown
                                           Embraced
Andrew Sean Greer works                    It’s Not Supposed to Be This Way Study Guide
The Confessions of Max Tivoli              Unglued
How It Was For Me                          Made to Crave Devotional
Less
The Path of Minor Planets

David Henry Hwang works
Golden Child
M. Butterfly
Trying to Find Chinatown

Matthew Klam works
Sam the Cat
Who Is Rich?
